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 7   PROCESS ON SINCLAIR BRAUN LLP PER L.R. IA 11-1(b)
 8   Gary L. Compton, State Bar No. 1652
     2950 E. Flamingo Road, Suite L
 9   Las Vegas, Nevada 89121
10                               UNITED STATES DISTRICT COURT
11                                         DISTRICT OF NEVADA
12     BAYVIEW LOAN SERVICING, LLC,                      Case No.: 2:19-CV-01151-JAD-EJY
13                            Plaintiff,                 STIPULATION FOR EXTENSION OF
                                                         TIME TO RESPOND TO MOTION
14                    vs.                                FOR PARTIAL SUMMARY
                                                         JUDGMENT (ECF No. 65)
15     NORTH AMERICAN TITLE INSURANCE
       COMPANY,
16
                                                                         ECF No. 78
                              Defendant.
17

18
            COMES NOW defendant North American Title Insurance Company (“North American”)
19
     and plaintiff Bayview Loan Servicing, LLC (“Bayview”), by and through their respective
20
     attorneys of record, which hereby agree and stipulate as follows:
21
            1.      On October 28, 2020, Bayview filed its motion for partial summary judgment
22
     (ECF No. 65.);
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            2.      North American’s deadline to respond to the motion for partial summary judgment
24
     is currently November 18, 2020;
25
            3.      North American requests a brief extension of time to respond to Bayview’s motion,
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     until December 2, 2020, to afford North American additional time to respond to the legal
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     arguments set forth in Bayview’s motion;
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                                                     1
                                           STIPULATION AND ORDER
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 1          4.     Bayview does not oppose the requested extension;
 2          5.     This is the first request for an extension which is made in good faith and not for
 3   purposes of delay;
 4          IT IS SO STIPULATED that North American’s deadline to respond to Bayview’s
 5   motion for partial summary judgment (ECF No. 65) is hereby extended through and including
 6   December 2, 2020.
 7

 8   Dated: November 5, 2020                      SINCLAIR BRAUN LLP
 9

10                                                By:    /s/-Kevin S. Sinclair
                                                        KEVIN S. SINCLAIR
11                                                      Attorneys for Defendant
                                                        NORTH AMERICAN TITLE INSURANCE
12                                                      COMPANY
13   Dated: November 5, 2020                      WRIGHT FINLAY & ZAK, LLP
14

15                                                By:    /s/-Darren T. Brenner
                                                        DARREN T. BRENNER
16
                                                        Attorneys for Plaintiff
                                                        BAYVIEW LOAN SERVICING, LLC
17

18   IT IS SO ORDERED.

19          Dated this _____         November
                        5th day of _____________, 2020.

20                                                 _______________________________________
                                                  JENNIFER A. DORSEY
21                                                UNITED STATES DISTRICT JUDGE
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                                       STIPULATION AND ORDER
